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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NOTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

         Demetrius Johnson,                             No. 1:20-cv-04156

         Plaintiff,                                     Hon. Sara L. Ellis,
                                                        District Judge
         v.
                                                        Hon. Heather K. McShain,
         Reynaldo Guevara, et al.,                      Magistrate Judge

         Defendant.                                     JURY TRIAL DEMANDED



              ORDER REGARDING EXPERT DISCOVERY AND DEFENDANTS’
                  SUMMARY JUDGMENT BRIEFING SCHEDULE

       On this day came on to be heard the Parties’ Proposed Order for an Expert Discovery and

Summary Judgment Briefing Schedule. The Court finds that should be, and is, GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Parties’

Proposal for Expert Discovery and Summary Judgment Briefing is GRANTED. The Court enters

the following schedule:

   •   Plaintiff’s expert disclosures: March 1, 2023
   •   Defendants to complete Plaintiff’s expert depositions: May 1, 2023
   •   Defendants’ expert disclosures: June 1, 2023
   •   Plaintiff to complete Defendants’ expert depositions: July 26, 2023
   •   Defendants’ motion for summary judgment: August 28, 2023
   •   Plaintiff’s response to Defendants’ motion for summary judgment: September 29, 2023
   •   Defendants’ reply for their motion for summary judgment: October 13, 2023


Dated: __January 26, 2023


                                                          _____________________________
                                                          Judge Sara L. Ellis
                                                          United States District Court
                                                          Northern District of Illinois
